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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION

UNITED STATES OF AMERICA,
                                                           CRIMINAL CASE NO. 06-20531
       Plaintiff,                                          HON. LAWRENCE P. ZATKOFF

v.

STEVEN BRIAN SHOR,

      Defendant.
____________________________________/


                                  SENTENCING OPINION

              AT A SESSION of said Court, held in the United States Courthouse,
               in the City of Port Huron, State of Michigan, on October 12, 2007

                    PRESENT: THE HONORABLE LAWRENCE P. ZATKOFF
                            UNITED STATES DISTRICT JUDGE

                                     I. INTRODUCTION

       On June 28, 2007, Defendant pled guilty to Count I of the Superseding Indictment,

Conspiracy to Distribute a Controlled Substance (MDMA, commonly known as Ecstasy). On

October 2, 2007, the Court held a hearing for purposes of sentencing Defendant. After taking into

consideration (1) the Government’s sentencing memorandum, (2) the information contained in the

Presentence Investigation Report (“PSR”) for the Defendant, (3) the objections to the PSR by

Defendant, and (4) the statements of the Defendant, defense counsel (including his request for a

variance) and government counsel, for the reasons set forth below, the Court sentences Defendant

to 60 months imprisonment, 5 years of supervised release and a $100.00 special assessment. All

fines and costs of confinement are hereby waived.
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                    II. OBJECTIONS TO THE PRESENTENCE REPORT

       The Rule 11 Plea Agreement entered into by the parties provided for an advisory Sentencing

Guideline range of 37- 46 months based on a Total Offense Level of 23 and a Criminal History

Category of I.    In preparing the PSR, however, the probation department determined that

Defendant’s Criminal History Category should be III. The probation department determined both

that (1) a 2005 arrest and conviction of Defendant in state court was not related to the current charge

and (2) a charge of assault with a dangerous weapon to which Defendant pled guilty under the

Holmes Youth Training Act (“HYTA”) should be calculated in determining Defendant’s Criminal

History. The parties had not contemplated the inclusion of either those matters in calculating the

guideline range under the Rule 11 Plea Agreement. As a result of including the unrelated conduct

and the HYTA matter, Defendant’s Criminal History increased from I to III, and the advisory

Guideline range increased to 57-71 months.

       Defendant makes the following objections to the PSR.

       1.      Related Conduct

       The Addendum to the PSR states that “defendant was assessed three points for the February

13, 2006, conviction in Macomb County, as it was not related to the instant offense. The Macomb

County conviction offense occurred on January 7, 2005, and he was arrested on December 16, 2005.

In the instant offense, the charges began on February 28, 2006 . . .” Defendant objects to the

probation department’s determination that the conduct in the Macomb County case was not related

to the underlying conduct in this case. The Government concurs with Defendant’s position,

although the Court is of the opinion that the Government now feels wed to the position it took at the


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time the Rule 11 Plea Agreement was entered.

       The Court agrees with the probation department’s determination that the Macomb County

conduct was unrelated. Notwithstanding that conclusion, the Court will, very reluctantly, recognize

the agreement of the parties that the conduct was related, particularly as that agreement existed at

the time the Rule 11 Plea Agreement was entered into by the Defendant. As such, the Court shall

not assess Defendant three points for the Macomb County conviction.

       This case, however, is reflective of two disturbing trends of the United States Attorney’s

Office, neither of which is acceptable to the Court. First, with increasing regularity, the Government

has entered into Rule 11 Agreements that rely on stipulations of fact that either ignore facts or fail

to adequately ascertain certain facts, specifically a defendant’s criminal history. Second, the

Government has demonstrated a continued adherence to its initial position in guilty pleas pursuant

to Rule 11 Plea Agreements, even when it becomes clear (as in this case) that the facts stipulated

to by the parties (often a defendant’s criminal history) are not accurate. This Court will not blindly

rubber stamp the errors of the Government in this type of situation.

       2.      Holmes Youth Training Act

               The probation department determined that Defendant’s plea of guilty to the assault

with a dangerous weapon charge under HYTA should be counted pursuant to §4A1.2(f), resulting

in an additional two points for purposes of determining Defendant’s Criminal History. Defendant

argues that because there is no record of conviction under HYTA (as he was successfully discharged

from the program), that matter should not be counted. The Court agrees with the probation

department’s determination. Under §4A1.2(f), it is clear that an admission of guilt in a judicial

proceeding is counted as being sentenced under §4A1.1(c). Accordingly, the Court overrules


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Defendant’s objection on this issue.

       3.      Conclusion

               Based on the conclusions reached above, the Court calculates that Defendant has a

Criminal History Category of II.



                               III. SENTENCING GUIDELINES

       Based on the Court’s determinations in Section II above, Defendant’s Total Offense Level

is 23, the appropriate Criminal History Category is II and the applicable Guideline range is 51-63

months. The parties agree that 51-63 months is the applicable Guideline range when a defendant

has a Total Offense Level of 23 and a Criminal History Category of II.




                                 IV. SENTENCING FACTORS

       When sentencing a defendant, the Court must consider the relevant factors from 18 U.S.C.

§ 3553, and articulate the reasons for its sentencing decision. United States v. McBride, 434 F.3d

470, 476 (6th Cir. 2006). The Court will now analyze the relevant factors as they relate to Defendant.

1.     The Nature and Circumstances of the Offense

       Defendant was involved in an organization that distributed MDMA (Ecstasy). On each of

five separate occasions over a three month period (between February 2006 and April 2006),

Defendant sold 100-250 MDMA pills to undercover agents.

2.     The History and Characteristics of the Defendant

       Defendant has been arrested, charged and convicted of felonies on numerous occasions. This


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does not include Defendant’s introduction to the legal system in 1992, at age 16, when he was

charged with unarmed robbery in Juvenile Court. For that offense, he spent 5 weeks in youth home

after receiving a “warning.”   In 1996, Defendant was charged with Assault with a Dangerous

Weapon for throwing a beer bottle at another individual, cutting the victim’s ear. In that case, he

was convicted and sentenced under HYTA. In 1997, Defendant was arrested for Disorderly Person-

Gambling after he was arrested for playing dice games (while drinking alcohol underage). He pled

guilty and received 10 months probation.

       In 2001, Defendant was charged with Controlled Substance-Delivery/Manufacture

(Marijuana) after the execution of a search warrant at his home netted 200.6 grams of marijuana.

On that charge, he pled guilty and was sentenced to 90 days in jail. Next, Defendant was charged

with Controlled Substance-Delivery/Manufacture (Methamphetamine). Defendant sold 10 pills to

an undercover agent for $120 in December 2005. He pled guilty, was sentenced to 24 months to

20 years and was sent to a Special Alternative Incarceration Boot Camp. He was paroled on

September 20, 2006, then tested positive for cocaine on December 5, 2006 and opiates and cocaine

on January 8, 2007.

3.     The Seriousness of the Offense

       As discussed above, Defendant introduced a substantial amount of MDMA into the

community, his third arrest on drug distribution charges in a five year period. Thus, the Court

concludes that Defendant’s offense is extremely serious.

4.     Promote Respect for the Law and Afford Adequate Deterrence to Criminal Conduct

       As discussed above, Defendant has an ever developing criminal history, and his prior

sentences have failed to promote respect for the law and afford adequate deterrence to criminal


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conduct. In particular, Defendant pled guilty to two separate drug distribution charges, yet he

continued to sell narcotics even after the second conviction and sentence. Thus, it is clear to this

Court that Defendant’s prior sentences have failed to deter him from committing further crimes. The

Court therefore finds that a sentence near the upper end of the Guideline range is necessary in this

case to promote respect for the law and afford adequate deterrence.

5.     Protect the Public From Further Crimes of the Defendant

       Defendant has an extensive history of recidivism, as discussed above. Thus, the Court finds

that a sentence near the upper end of the Guideline range is necessary to protect the public from

further crimes of Defendant.



                                        V. CONCLUSION

       Defendant’s Guideline range is 51 to 63 months. For the reasons set forth above, the Court

finds that a sentence in the high end of the range is necessary in this case. Thus, the Court sentences

Defendant to 60 months.



       IT IS SO ORDERED.




                                               s/Lawrence P. Zatkoff
                                               LAWRENCE P. ZATKOFF
                                               UNITED STATES DISTRICT JUDGE

Dated: October 12, 2007




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                                 CERTIFICATE OF SERVICE

       The undersigned certifies that a copy of this Order was served upon the attorneys of
record by electronic or U.S. mail on October 12, 2007.


                                            s/Marie E. Verlinde
                                            Case Manager
                                            (810) 984-3290




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